                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                     ■   Secret Indictment
Greene / Southern
                                                                                         Juvenile
Defendant Information
Defendant Name:            Mustafa K. El-Min

Alias Name:                Anthony L. Robinson

Birth Date:               05/25/1970
Related Case Information
Superseding Indictment?                                                           20-03041-CR-S-MDH
                              ■    Yes       No If yes, original case number:
New Defendant(s)?             ■    Yes       No
Prior Complaint Case Number, if any:

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Jessica R. Sarff

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
    Currently in Federal Custody                                                   Writ Required?                 Yes     ■   No
    Currently in State Custody                                                                                ■   Yes         No
                                                                                   Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts         1 with FA

     Set                       Index Key & Description of Offense Charged                                    Count(s)

      1        21:846=CD.F CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE                                          1

      2        21:853.F CRIMINAL FORFEITURES                                                                      FA

      3

      4



                                                  (May be continued on reverse)                              Revised: 04-25-2018
                    Case 6:20-cr-03041-MDH Document 83-3 Filed 01/19/21 Page 1 of 1
